FLINT, GOERING &amp; CO., LTD., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Flint, Goering &amp; Co. v. CommissionerDocket No. 20078.United States Board of Tax Appeals19 B.T.A. 421; 1930 BTA LEXIS 2404; March 26, 1930, Promulgated *2404  The petitioner was a limited partnership and in the year 1919 it distributed its assets to its members with the understanding that the income received by the members from such assets should be deposited with the partnership to take care of future liabilities, if any.  At the close of 1922 the amounts thus deposited aggregated the sum of $37,557.99.  Held that such amounts deposited with the petitioner by its members did not constitute income to it.  William C. Alexander, Jr., Esq., for the petitioner.  Eugene Meacham, Esq., for the respondent.  SMITH *421  This proceeding is for the redetermination of an alleged deficiency in income tax for the year 1922 amounting to $4,694.75.  The petitioner alleges that the respondent erred in including in income for the year 1922 the amount of $37,557.99.  *422  FINDINGS OF FACT.  The petitioner was a limited partnership association with an office in Philadelphia, Pa.  Prior to the year 1919 it was engaged in business as ship brokers and as such carried on business in the city of Philadelphia up to the year 1919, since which time it has not been engaged in business.  Due to the termination of*2405  the World War, the petitioner in the year 1919 determined to discontinue its business as ship brokers.  It also determined to liquidate its assets, inasmuch as its members desired to enter other fields of business activity.  In pursuance of such determinations the known liabilities of the petitioner were paid during the year 1919 and the partnership assets, which consisted of bonds and cash, were distributed to its members as their several interests therein appeared.  At the time of the distribution certain questions relating to the liability of the petitioner to income tax for prior years had not been settled.  In view of this situation, the assets distributed to the members of the partnership were turned over to them with the understanding that the income received by them from such assets would be deposited to the credit of the petitioner to take care of any liabilities which might arise.  Accordingly, the three members from time to time deposited their individual checks in a bank to the credit of the petitioner.  Such deposits were allowed to accumulate until the close of the year 1922.  In the meantime, however, the securities which had been distributed to the three members were*2406  sold or hypothecated by them without restriction, no accounting being made to the petitioner of such disposition.  After the close of the year 1922, the amounts deposited to the credit of the petitioner were distributed to its three members.  The petitioner filed returns as a personal service corporation for the years 1918, 1919, 1920, and 1921.  Its return for the year 1922 was prepared as a partnership return, but on a corporation form reporting the amount of $37,557.99, which was included by the respondent in computing petitioner's net income.  This amount of $37,557.99 represented an accumulation over several years of the sums deposited to petitioner's credit by its three members.  In determining the income-tax liability of George Flint, one of the members of the partnership, for the year 1919, the respondent considered the petitioner as having been liquidated in that year, Subsequently, the respondent determined that the petitioner should be classified as a personal service corporation.  The alleged deficiency for the year 1922 was predicated upon respondent's determination that the petitioner is taxable as a corporation.  *423  OPINION.  SMITH: The issue before*2407  us is whether the amount of $37,557.99 constituted income to the petitioner for the year 1922.  From the record in this proceeding we are convinced that when the partnership decided to discontinue business in 1919 and to distribute its assets, it thought best to make some provision to take care of unknown or prospective liabilities.  Consequently, the partnership assets were distributed to its members with the understanding that the income derived by them from such assets should be deposited with the partnership to take care of any such liabilities.  This view of the matter, in our opinion, characterizes the amounts deposited in the bank to the credit of the petitioner not as income of the petitioner, but as property of the depositors, liable to be used by the petitioner only in the event that it should be needed to meet liabilities.  The petitioner had not taxable income in 1922.  Judgment will be entered for the petitioner.